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                         EXHIBIT 3
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                                          June 29, 2023


VIA EMAIL [michaelmule@mllaborlaw.com]
Michael C. Mulè, Esquire
Milman Labuda Law Group, PLLC
3000 Marcus Avenue, Suite 3W8
Lake Success, NY 11042

       RE:    Star Auto Sales, et al. v. Voynow, et al.
              Docket No.: USDC of Eastern NY No. 1:18-cv-05775-ERK-CLP
              Our File No.: 03127.01373

Dear Mr. Mulè:

        As a follow-up to the 30(b)(6) deposition of Voynow, Bayard, Whyte and Company, LLP (“Voynow”),
please find Voynow’s response regarding the handwriting depicted on Plaintiffs’ Exhibit 148:



        DOCUMENT BATES NO.                                HANDWRITING IDENTIFICATION

 Voynow_006540                                        Tim Kravets, Randy Franzen
 Voynow_006670                                        Tim Kravets, Randy Franzen
 Voynow_007864                                        Shawn McCormack
 Voynow_007874                                        Unknown after investigation
 Voynow_007875                                        No handwriting on this document
 Voynow_008338                                        Randy Franzen
 Voynow_008401                                        Bob Seibel
 Voynow_008783                                        Bob Seibel
 Voynow_008828                                        Bob Seibel
 Voynow_008830                                        Bob Seibel
 Voynow_009410                                        Shawn McCormack
 Voynow_009888                                        Shawn McCormack
 Voynow_009889                                        Shawn McCormack
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Michael C. Mulè, Esquire
June 29, 2023
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           DOCUMENT BATES NO.                                HANDWRITING IDENTIFICATION

 Voynow_010014                                          Shawn McCormack
 Voynow_012388                                          Unknown after investigation
 Voynow_012912                                          Not a Voynow employee
 Voynow_020151                                          Shawn McCormack
 Voynow_021089                                          Bob Seibel
 Voynow_021153                                          Not a Voynow employee
 Voynow_022986                                          Bob Seibel
 Voynow_024437                                          Bob Seibel
 Voynow_024439                                          Bob Seibel
 Voynow_024607                                          No handwriting is on this document
 Voynow_024669                                          Bob Seibel
 Voynow_024670                                          Bob Seibel
 Voynow_024690                                          Ken Mann
 Voynow_024752                                          Bob Seibel
 Voynow_024753                                          Bob Seibel
 Voynow_024754                                          Bob Seibel
 Voynow_024769                                          Bob Seibel
 Voynow_024798                                          Bob Seibel
 Voynow_024825                                          Bob Seibel
 Voynow_024827                                          Hugh Whyte
 Voynow_024859                                          Bob Seibel




       Enclosed is a Verification from Bob Seibel regarding the handwriting references listed above per your
request.

       Additionally, as a follow up to the June 20, 2023 document production, Defendants are producing
supplemental documents which have been bates stamped as VOYNOW_035373 to VOYNOW_035737 and are
available through the FTP site. The password to access them is PpxOVzcxtPx2XFBt4.
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Michael C. Mulè, Esquire
June 29, 2023
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_____________________________________________________


                                                        Very truly yours,


                                                        Maureen P. Fitzgerald


MPF:ls
Enclosure
cc:    Jamie Felsen, Esquire - jamiefelsen@mllaborlaw.com
       Joseph Labuda, Esquire - joe@mllaborlaw.com
       Jeremy Koufakis, Esquire - jeremy@mmmlaborlaw.com
LEGAL/154573719.v1
